         Case 3:19-cv-00114-BAJ-RLB           Document 23        08/05/19 Page 1 of 8


                                                                        U-JS- DISTRICT"
                                                                        M'DDLELD'l?TR'l^"o^L^SUA"N^
                          UNITED STATES DISTRICT COUR
                            MIDDLE DISTRICT OF LOUISIANA                FILED
                                                                                 Aim -52019

                                                                                   CLERK -
 ESROM DEMEKE,

         Plaintiff,                                      Case Number:
                                                         19-H4-BAJ-RLB
           V.

                                                         Judge
 BOARD OF SUPERVISORS OF LOUISIANA                       Brian A. Jackson
 STATE UNIVERSITY, andA&M COLLEGE,
 ETAL.                                                   Mag. Judge
                                                         Richard L. Bourgeois, JR.
       Defendants.




                      PLAINTIFF'S MEMORANDUM IN OPPOSITION
                        TO DEFENDANTS' MOTION TO DISMISS



       Plaintiff submits the following brief in opposition to Defendants' Motion to Dismiss the

Complaint. For reasons set forth in this opposing memorandum, Plaintiff respectfully requests

this Honorable Court deny Defendants' Motion to Dismiss in its entirety.

                                       INTRODUCTION

       Plaintiff, in his Complaint (Doc. l) submitted to this Court on Feb 22,2019, alleges against

Defendants, violations of Title II of the Americans with Disabilities Act of 1990, as amended (the

"ADA"), 42 U.S.C. § 12131, et seq.; Section 504 of the Rehabilitation Act of 1973 ("Section 504"),

29 U.S.C. § 794, et seq.; the Fourteenth Amendment, 42 U.S.C. § 1983; and Title VII of the Civil

Rights Act of 1963. And supplemental state law violation claims.




                                                Page lot 8
        Case 3:19-cv-00114-BAJ-RLB              Document 23        08/05/19 Page 2 of 8




                      ISSUES TO BE RULED UPON BY THE COURT

      Defendants argue that this Court should dismiss the Complaint in its entirety for the

following reasons: (A) <<[w]ith respect to the Board, Plaintiff has not pled sufficient facts to state a

claim upon which relief can be granted"; (B) "Plaintiff brings these claims as a private individual

against a Board of Supervisors as an entity, Plaintiffs ADA claims are barred by the Eleventh

Amendment, and this Court lacks subject matter jurisdiction on ADA claims"; and (C) " The

statute of limitation for claims under 42 U.S.C. § 1983 is one year.




                                       LEGAL STANDARD

        A motion to dismiss for lack of subject matter jurisdiction pursuant to Fed. R. Civ. P

l2(b)(l) "addresses whether [the plaintiff] has a right to be in the district court at all and whether

the court has the power to hear and dispose of [plaintiffs] claim." Holloway v. Pagan River

Dockside Seafood, Inc., 669 F.3d 448, 452 (4th Cir. 2012). A court should grant such a motion

"only if the material jurisdictional facts are not in dispute and the moving party is entitled to

prevail as a matter of law. Evans v. B.F. Perkins Co., a Div. ofStandexIntl Corp., 166 F.3d 642,

647 (4th Cir. 1999) (internal quotation marks omitted). On the other hand, a motion to dismiss

pursuant to Fed. R. Civ. P. i2(b)(6), "tests the legal sufficiency of a complaint." Jones v. HCA, 16

F. Supp.3d 622, 628 (E.D. Va. 2014). When evaluating motions to dismiss pursuant to Rule

i2(b)(6), courts "accept all factual allegations as true, construe the complaint in the light most

favorable to the plaintiff, and determine whether, under any reasonable reading of the complaint,

the plaintiff may be entitled to relief. Phillips v. City. of Allegheny^ 515 F.3d 224, 233 (3d Cir.

2008). The issue for the court is "not whether the plaintiff will ultimately prevail, but whether the

claimant is entitled to offer evidence to support the claims: Scheuer v. Rhodes, 416 U.S. 232,236

(1974)- In addition, when considering a motion to dismiss pursuant to Fed. R. Civ. P. i2(b)(6),

courts hold pro se complaints "to less stringent standards than formal pleadings drafted by

lawyers." Erickson u. Pardus, 551 U.S. 89, 94,127 S.Ct. 2197 (2007).


                                                  Page 2 of 8
        Case 3:19-cv-00114-BAJ-RLB             Document 23       08/05/19 Page 3 of 8



Plaintiff disagrees with Defendants' contention that the Complaint (Doc. i) lacks sufficient facts to

state a claim. As required by rule 12(b)(6), the complaint contains a short and plain statement

showing the pleader is entitled to relief, and a demand for the relief sought. Fed. R. Civ. P. 8(a).

Plaintiff has satisfied this requirement in the Complaint by alleging a list of specific conditions

that " unable to equally and fully benefit from services and benefits provided to other LSU

students " (Doc. i, parag 62). The Complaint, specifically alleges that LSU Board and LSU

employees engaged in violations of (i) Title II of the ADA, by implementing practices, policies and

procedures that have subjected Plaintiff to discrimination based on his disability; (2) Section 504

of the Rehabilitation Act by failing to provide reasonable accommodations through its denial of

Plaintiffs request for an effective and reasonable accommodation and modifications of policy, and

by implementing discriminatory procedural barriers and burdensome documentation

requirements (Doc. l paras 54 -65).

       Furthermore, Plaintiff asserts that LSU's documentation requirement "negatively and

disproportionately impacts qualified disabled students in violation of the equal protection clause."

LSU selectively chooses qualified disabled students and pays for their evaluation expenses to

verify eligibility for accommodation (Doc. l, parag 64). LSU denied the same benefit as provided

to other disabled qualified LSU students.

       Plaintiff made several requests to be evaluated if LSU covers the expenses, however, LSU

response through the Associate Director of Disability Services was that "we don't do that."




                                          ARGUMENT

I. Title II of the ADA validly abrogates state's sovereign immunity. This Honorable
Court has jurisdiction over Plaintiff fs Title II and Section 504 claims

        Defendants argue the state has sovereign immunity as to the plaintiff's ADA claim,

therefore, the court is without subject matter jurisdiction, and under Fed. R. Civ. P. i2(b)(i), a

motion to dismiss based on sovereign immunity is treated as a motion to dismiss for lack of subject



                                                 Page 3 of 8
        Case 3:19-cv-00114-BAJ-RLB            Document 23      08/05/19 Page 4 of 8




matter jurisdiction. In addition, Defendants argue the Eleventh Amendment bars private actions

against a state entity for monetary damage.

        The Americans with Disabilities Act (ADA) has four separate titles: (i) Title I covers

employment discrimination, 42 U.S.C. §§ 12111-12117; (2)TitIe II covers discrimination by

government entities, Id. §§ 12131-12165; (3) Title III covers discrimination by places of public

accommodation, Id. §§ 12181-12189, and (4)Title IV covers miscellaneous provisions, Id. § §

12201-12213.


       Title II specifies that "no qualified individual with a disability shall, by reason of such

disability, be excluded from participation in or be denied the benefits of the services, programs,

or activities of a public entity, or be subjected to discrimination by any such entity." The term

"public entity" means any State or local government; any department, agency, special purpose

district, or other instrumentality of a State or States or local government; and the National

Railroad Passenger Corporation, and any cummuter authority. 42 U.S.C. § 12131(1).

       Defendants argue that "[p]laintiff brings these claims as a private individual against a

Board of Supervisors as an entity, Plaintiff's ADA Claims are barred by the Eleventh Amendment,

and this Court lacks subject matter jurisdiction on the ADA claims In supporting this argument,

Defendants rely on Board of Trustees of University of Alabama v. Garrett, 531 U.S. 356,363,


121 S.Ct. 955, 148 L.Ed.2d 866 (2001).

A) Appling Garrett for a Title II case is misplaced because Garrett is a Title I

case, and in United States v. Georgia, 546 U.S. 151 (2006), in unanimous decision, The

Supreme Court ruled that "Title II abrogates sovereign immunity in cases where violations of the

8th Amendment are alleged. The i4th Amendment incorporates the 8th Amendment (that is,

applies it to the states). Congress can enforce the i4th Amendment against the states by creating

private remedies against the States for actual violations" of its provisions, which can involve

abrogating state sovereign immunity." "United States v. Georgia." Oyez. Accessed August i, 2019.


https://www.oyez.org/cases/2005/o4~i203

                                               Page 4 of 8
        Case 3:19-cv-00114-BAJ-RLB              Document 23       08/05/19 Page 5 of 8




        In University of Alabama v. Garrett, 531 U.S. 356, 363 (2001), the Supreme Court

reaffirmed that Section 5 of the Fourteenth Amendment grants Congress the power to abrogate

the States' Eleventh Amendment immunity to private damage suits. In assessing the validity of

"Section 5 legislation reaching beyond the scope of Section 1's actual guarantees," the legislation

"must exhibit 'congruence and proportionality between the injury to be prevented or remedied

and the means adopted to that end/" Garrett, 531 U.S. at 365 (quoting City of Boerne v. Flares,

521 U.S. 507, 520 (1997)). This requires a three-step analysis: first, a court must "identify with

some precision the scope of the constitutional right at issue," id.; second, the court must "examine

whether Congress identified a history and pattern of unconstitutional discrimination by the States

against the disabled," id. at 368; finally, the Court must assess whether the "rights and remedies

created" by the statute were "designed to guarantee meaningful enforcement" of the constitutional

rights that Congress determined the States were violating, id. at 372,373.


       Applying these principles, id. at 365, the Court in Garrett held that Congress did not

validly abrogate States' Eleventh Amendment immunity to suits by private individuals for money

damages under Title I of the ADA. The Court concluded that Congress had identified only half a

dozen incidents of relevant conduct (i.e., potentially unconstitutional discrimination by States as

employers against people with disabilities), id. at 369 and had not made a specific finding that

discrimination in public sector employment was pervasive, id. at 371-372. Thus, the Court held,

Congress did not assemble a sufficient basis to justify Title I's abrogation of Eleventh Amendment

immunity for its prophylactic statutory remedies. Id. at 372.


       The Supreme Court specifically reserved the question whether Title Us abrogation can be

upheld as valid Section 5 legislation. The Supreme Court noted that Title II "has somewhat

different remedial provisions from Title I," id. at 360 n.i, and that the legislative record for those

activities governed by Title II was more extensive, see id. at 372 n.7. Less than a week after




                                                  Page 5 of 8
        Case 3:19-cv-00114-BAJ-RLB            Document 23        08/05/19 Page 6 of 8




deciding Garrett, the Supreme Court denied a petition for certiorari filed by California and let

Dare v. California, 191 F.sd 1167 (1999), cert. denied, 121 S. Ct 1187 (2001).


B) Congress identified ample evidence of a long history and a continuing
problem of unconstitutional treatment of persons with disabilities by states and
made express findings on the subject

       "Congress enacted Title II against a backdrop of pervasive unequal treatment of persons

with disabilities in the administration of state services and programs, including systematic

deprivations of fundamental rights." Tennessee v. Lane, 541 U.S. 509, 124 S.Ct 1978, (2004).

         The historical experience that Title II reflects is also documented in this Honorable

Court's cases, which have identified the unconstitutional treatment of disabled persons by the

State of Louisiana agencies in a variety of settings, including unjustified commitment, and the

abuse and neglect of persons committed to state mental health hospitals .




C) In United States v. Georgia, 546 U.S. 151 (2006), the Supreme Court
unanimously went on to state that Title II validly abrogates state sovereign
immunity. Id. at 159.

       Goodman, a paraplegic held in a Georgia state prison, sued Georgia in federal court for

maintaining prison conditions that allegedly discriminated against disabled people and violated

Title II of the Americans with Disabilities Act (ADA). Georgia claimed the nth Amendment

provided the state immunity from such suits. The district court ruled for Georgia, but the nth

Circuit reversed.



Before the ilth Circuit ruled in the case, the United States sued Georgia, arguing that the ADA'S

Title II abolished state sovereign immunity from monetary suits. Congress could do this, the U.S.

argued, by exercising its l4th Amendment power to enforce equal protection. The question to the

Supreme Court was whether Title II of the Americans with Disabilities Act of 1990 validly abrogate

state sovereign immunity for suits by prisoners with disabilities challenging discrimination by




                                                Page 6 of 8
        Case 3:19-cv-00114-BAJ-RLB             Document 23        08/05/19 Page 7 of 8



state prisons, and whether Title II is a proper exercise of Congress s power under Section 5 of the

Fourteenth Amendment, as applied to the administration of prison systems.


In a unanimous decision authored by Justice Antonin Scalia, the Court ruled that Title II

abrogates sovereign immunity in cases where violations of the 8th Amendment are alleged. The

i4th Amendment incorporates the 8th Amendment (that is, applies it to the states). Congress can

enforce the i4th Amendment against the states by creating private remedies against the States

for actual violations" of its provisions, which can involve abrogating state sovereign immunity.

However, the Court did not address the question of whether Title II validly abrogates sovereign

immunity when the 8th Amendment is not involved."United States v. Georgia. Oyez. Accessed

August 5, 2019 https://www.oyez.org/cases/2005/04-l203.


D) The Rehabilitation Act (Section 504) is a valid exercise of Congress's
authority under the spending clause of the Constitution

       The Fifth Circuit s decision in Bennet-Nelson v. Louisiana Board of Regents, 431 F.sd 448

(5th Cir. 2005), is a similar case to this case, and in that case, two hearing impaired students sued

under Tide II of the ADA and Section 504 of the Rehabilitation Act alleging that Louisiana Tech

University, an arm of the State of Louisiana denied them equal access to education by failing to

provide certain educational aids and services. Id. at 449. The district court dismissed the suit

based on Eleventh Amendment immunity. Id.


On appeal, the plaintiffs argued that the University had waived its immunity from suit under

Section 504 by accepting federal funding, and that Congress had validly abrogated Eleventh

Amendment immunity from suit under Title II of the ADA. Id. Addressing the first argument, the

court found that the University had waived its Eleventh Amendment immunity as to the plaintiffs'

claims under Section 504 because it was a recipient of federal financial assistance. Id. at 454.

Turning to Title II, the court noted that the only material difference between the rights and

remedies afforded plaintiffs under that statute and Section 504 lay in their respective causation




                                                 Page 7 of 8
        Case 3:19-cv-00114-BAJ-RLB            Document 23          08/05/19 Page 8 of 8



requirements, but that this difference was immaterial where the plaintiffs' claims were based on

a failure to make reasonable accommodations for disabled individuals. Id. "Thus," the court

concluded, "having already held that sovereign immunity does not bar the appellants' claim under

Section 504, we need not address at this juncture the issue ofabrogation under Title II of the ADA,

because the rights and remedies under either are the same for purposes of this case. Id. at 455.


II. The statute of limitations for claims under 42 U.S.C. § 1983.

The statute of limitations is not barred because the retaliation occurred in February 2018, and

Plaintiffs case was under consideration by the Provost until April 2018.




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                           Respectfully submitted this s^_ day off^^WT . 2019.


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                                   Certificateof Service

I do hereby certify that on August 5, 2019, a copy of the forgoing MEMORANDUM IN OPPOSITION

TO DEFENDANTS' MOTION TO DISMISS was filled manuaUy with fche Clerk of the Court.

There are no non-CMF/ECF participants.



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                                                Page 8 of 8
